                     SIXTH DISTRICT COURT OF APPEAL
                            STATE OF FLORIDA
                           _____________________________

                                Case No. 6D2023-3536
                            Lower Tribunal No. 11CF-000723
                           _____________________________

                                    LANCE JOHNSON,

                                       Appellant,
                                           v.

                                    STATE OF FLORIDA,

                                        Appellee.
                           _____________________________

Appeal pursuant to Fla. R. App. P. 9.141(b)(2) from the Circuit Court for Osceola County.
                              Tanya Davis Wilson, Judge.

                                     August 27, 2024

   PER CURIAM.

          AFFIRMED.

   TRAVER, C.J., and MIZE and GANNAM, JJ., concur.


   Lance Johnson, Sneads, pro se.

   Ashley Moody, Attorney General, Tallahassee, and Pamela J. Koller, Assistant
   Attorney General, Daytona Beach, for Appellee.


     NOT FINAL UNTIL TIME EXPIRES TO FILE MOTION FOR REHEARING
              AND DISPOSITION THEREOF IF TIMELY FILED
